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 1                                UNITED STATES DISTRICT COURT

  2                                     DISTRICT OF NEVADA
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 3     JOSEPH L. MULE,                                      Case No.: 2:23-cv-00083-CDS-DJA
  4
 4                   Plaintiff,
  5                                                                        ORDER
 5            v.
  6
 6     NDOC STAFF, et al.,
  7
 7                   Defendants.
  8
 8
  9          On January 17, 2023, pro se plaintiff Joseph L. Mule, an inmate in the custody of
 9
 10   the Nevada Department of Corrections, submitted a complaint under 42 U.S.C. § 1983.
10
 11   (ECF No. 1-1). Plaintiff has not paid the $402 civil filing fee or submitted an application
11
 12   to proceed in forma pauperis. The Court will give Plaintiff until March 20, 2023, to file a
12
 13   complete application to proceed in forma pauperis or pay the $402 filing fee in full.
13
 14   I.     DISCUSSION
14
 15          The United States District Court for the District of Nevada must collect filing fees
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 16   from parties initiating civil actions. 28 U.S.C. § 1914(a). The fee for filing a civil-rights
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 17   action is $402, which includes the $350 filing fee and the $52 administrative fee. See 28
17
 18   U.S.C. § 1914(b). “Any person who is unable to prepay the fees in a civil case may apply
18
 19   to the court for leave to proceed in forma pauperis.” Nev. Loc. R. Prac. LSR 1-1. For an
19
 20   inmate to apply for in forma pauperis status, the inmate must submit all three of the
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 21   following documents to the Court: (1) a completed Application to Proceed in Forma
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 22   Pauperis for Inmate, which is pages 1–3 of the Court’s approved form, that is properly
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 23   signed by the inmate twice on page 3; (2) a completed Financial Certificate, which is
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 24   page 4 of the Court’s approved form, that is properly signed by both the inmate and a
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 25   prison or jail official; and (3) a copy of the inmate’s prison or jail trust fund account
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 26   statement for the previous six-month period. See 28 U.S.C. § 1915(a)(1)–(2); Nev.
26
 27   Loc. R. Prac. LSR 1-2. In forma pauperis status does not relieve an inmate of his or her
27
 28   obligation to pay the filing fee, it just means that the inmate can pay the fee in installments.
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 1    See 28 U.S.C. § 1915(b).

  2   II.    CONCLUSION
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  3          It is therefore ordered that Plaintiff has until March 20, 2023, to either pay the full
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  4   $402 filing fee or file a fully complete application to proceed in forma pauperis with all
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  5   three required documents: (1) a completed application with the inmate’s two signatures
 5
  6   on page 3, (2) a completed financial certificate that is signed both by the inmate and the
 6
  7   prison or jail official, and (3) a copy of the inmate’s trust fund account statement for the
 7
  8   previous six-month period.
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  9          Plaintiff is cautioned that this action will be subject to dismissal without prejudice if
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 10   Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff
10
 11   to refile the case with the Court, under a new case number, when Plaintiff can file a
11
 12   complete application to proceed in forma pauperis or pay the required filing fee.
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 13          The Clerk of the Court is directed to send Plaintiff Joseph L. Mule the approved
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 14   form application to proceed in forma pauperis for an inmate and instructions for the same
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 15   and retain the complaint (ECF No. 1-1) but not file it at this time.
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 16
16           DATED this 20th day of January 2023.
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19                                                UNITED STATES MAGISTRATE JUDGE
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